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7
                       UNITED STATES DISTRICT COURT
                                 FOR THE
8                     CENTRAL DISTRICT OF CALIFORNIA
9

10   ANTONIO OWENS,                       )     Case No.:
                                          )
11              Plaintiff                 )     COMPLAINT FOR DAMAGES
12   v.                                   )     1. VIOLATION OF THE FAIR
                                          )     DEBT COLLECTION PRACTICES
13   FIRSTSOURCE ADVANTAGE,               )     ACT, 15 U.S.C. §1692 ET. SEQ.;
14
     LLC,                                 )     2. VIOLATION OF THE
                                          )     ROSENTHAL FAIR DEBT
15              Defendant                 )     COLLECTION PRACTICES ACT,
                                          )     CAL. CIV. CODE §1788 ET. SEQ.;
16
                                          )     3. VIOLATION OF THE
17                                        )     TELEPHONE CONSUMER
                                          )     PROTECTION ACT, 47 U.S.C. §227
18                                        )     ET. SEQ.
19                                        )
                                          )     JURY TRIAL DEMANDED
20                                        )
21

22                                 COMPLAINT
23
          ANTONIO OWENS (“Plaintiff”), by and through his attorneys, KIMMEL
24
     & SILVERMAN, P.C., alleges the following against             FIRSTSOURCE
25

26
     ADVANTAGE, LLC (“Defendant”).

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                                 PLAINTIFF’S COMPLAINT
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1                                     INTRODUCTION
2
           1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices
3
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), the Rosenthal Fair Debt Collection
4

5    Practices Act, Cal. Civ. Code §1788, et seq. (“RFDCPA”), and the Telephone

6    Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
7
                               JURISDICTION AND VENUE
8
           2.     Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
9

10   which states that such actions may be brought and heard before “any appropriate
11   United States district court without regard to the amount in controversy,” and 28
12
     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
13

14
     under the laws of the United States.

15         3.     This court has supplemental jurisdiction over Plaintiff’s state law
16
     RFDCPA claim pursuant to 28 U.S.C. § 1367(a).
17
           4.     Defendant conducts business in the State of California and as such,
18

19
     personal jurisdiction is established.

20         5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
21
                                             PARTIES
22
           6.     Plaintiff is a natural person residing in Los Angeles, California.
23

24         7.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

25   §1692a(3) and is a “debtor” as defined by Cal. Civ. Code §1788.2(h).
26

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1          8.     Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
2
           9.     Defendant is a national debt collection company with its corporate
3
     headquarters located at 205 Bryant Woods South, Amherst, New York 14228.
4

5          10.    Defendant is a “debt collector” as that term is defined by 15 U.S.C.

6    §1692a(6), and RFDCPA, Cal. Civ. Code §1788.2(c).
7
           11.    Defendant is a “person” as that term is defined by 47 U.S.C.
8
     §153(39).
9

10         12.    Defendant acted through its agents, employees, officers, members,
11   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
12
     representatives, and insurers.
13

14

15                             FACTUAL ALLEGATIONS
16
           13.    Plaintiff has a cellular telephone.
17
           14.    Plaintiff has only used this phone as a cellular telephone.
18

19
           15.    Beginning in, around, or before February 2018 and continuing

20   through at least late April 2018, Defendant called Plaintiff’s cellular telephone
21
     multiple times per week in their attempts to collect a debt from him.
22
           16.    Plaintiff does not have any business debts, so the debt that Defendant
23

24   has been calling Plaintiff regarding could only have been incurred for personal,

25   family or household purposes.
26

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1          17.    Defendant’s collectors, contacted Plaintiff from numbers, including
2
     but not limited to: (888) 872-1566. The undersigned has confirmed this number is
3
     Defendant’s telephone number.
4

5          18.    During this time, Defendant placed calls to Plaintiff using an

6    automated telephone dialing system and/or pre-recorded voice.
7
           19.    Plaintiff knew Defendant was using an automated telephone dialing
8
     system as calls began with a silence or pause with no caller on the line before
9

10   being transferred to a representative.
11         20.    Defendant’s calls were not for emergency purposes, but to collect
12
     money.
13

14
           21.    Shortly after the calls started, Plaintiff told the Defendant to stop

15   calling.
16
           22.    Once Defendant was informed that its calls were unwanted and
17
     Plaintiff desired the calls to stop, there was no lawful to making further calls, nor
18

19
     was there any good faith reason to place calls, and any further calls could only

20   have been placed for the purpose of harassing Plaintiff.
21
           23.    Rather than restrict its calls from Plaintiff’s cellular telephone
22
     number, Defendant continued to call Plaintiff forcing him to make additional
23

24   requests to stop calling which were ignored.

25         24.    Plaintiff found Defendant’s calls to be harassing, invasive, annoying,
26

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                                     PLAINTIFF’S COMPLAINT
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1    aggravating, frustrating, and upsetting.
2

3
                              COUNT I
4
         DEFENDANT VIOLATED §§ 1692d AND 1692d(5) OF THE FDCPA
5
           25.    A debt collector violates § 1692d by engaging in any conduct the
6

7
     natural consequence of which is to harass, oppress, or abuse any person in

8    connection with the collection of a debt.
9
           26.    A debt collector violates § 1692d(5) by causing a telephone to ring or
10
     engaging any person in a telephone conversation repeatedly or continuously with
11

12   intent to annoy, abuse, or harass any person at the called number.

13         27.    Defendant violated §§ 1692d and 1692d(5) when it placed repetitive
14
     and excessive telephone calls to Plaintiff within the one year period preceding the
15
     filing of this Complaint knowing at all times its calls were unwanted.
16

17

18

19                            COUNT II
                      DEFENDANT VIOLATED THE
20          ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
21
           28.     Section 1788.17 of the California Civil Code mandates that every
22
     debt collector attempting to collect a consumer debt shall comply with § 1692b
23

24   through § 1692j of the FDCPA.

25

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                                     PLAINTIFF’S COMPLAINT
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1          29.     Defendant violated Cal. Civ. Code § 1788.17, when it violated the
2
     FDCPA for the reasons set forth in Count I of this Complaint.
3

4

5                                  COUNT III
                          DEFENDANT VIOLATED THE TCPA
6

7
           30.    Plaintiff incorporates the forgoing paragraphs as though the same

8    were set forth at length herein.
9
           31.    Defendant initiated automated calls to Plaintiff using an automatic
10
     telephone dialing system.
11

12         32.    Defendant’s calls to Plaintiff were not made for emergency purposes.

13         33.    After Plaintiff told Defendant to stop calling, Defendant knew or
14
     should have known it did not have consent to call and that any consent it thought it
15
     had to call was revoked, making all further calls knowing and willful violations of
16

17   the TCPA.
18         34.    Defendant’s acts as described above were done with malicious,
19
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
20
     under the law and with the purpose of harassing Plaintiff.
21

22         35.     The acts and/or omissions of Defendant were done unfairly,
23
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
24
     lawful right, legal defense, legal justification or legal excuse.
25

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1          36.    As a result of the above violations of the TCPA, Plaintiff has suffered
2
     the losses and damages as set forth above entitling Plaintiff to an award of
3
     statutory, actual and trebles damages.
4

5

6          WHEREFORE, Plaintiff, ANTONIO OWENS, respectfully prays for a
7
     judgment as follows:
8
           a.     All actual damages suffered pursuant to 15 U.S.C. §1692k(a)(1) and
9

10   Cal. Civ. Code § 1788.30(a);
11         b.     Statutory damages of $1,000.00 for the violation of the FDCPA
12
     pursuant to 15 U.S.C. §1692k(a)(2)(A);
13

14
           c.     Statutory damages of $1,000.00 for the violation of the FDCPA

15   pursuant to Cal. Civ. Code § 1788.30(b);
16
           d.     All reasonable attorneys’ fees, witness fees, court costs and other
17
     litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §1693k(a)(3) and Cal.
18

19
     Civ. Code § 1788.30(c);

20         e.     All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
21
           f.     Statutory damages of $500.00 per violative telephone call pursuant to
22
     47 U.S.C. § 227(b)(3)(B);
23

24         g.     Treble damages of $1,500.00 per violative telephone call pursuant to

25   47 U.S.C. §227(b)(3);
26

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1           h.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
2
            i.     Any other relief deemed appropriate by this Honorable Court.
3

4

5                               DEMAND FOR JURY TRIAL

6           PLEASE TAKE NOTICE that Plaintiff, ANTONIO OWENS, demands a
7
     jury trial in this case.
8

9

10                                           RESPECTFULLY SUBMITTED,
11   Date: 3/15/19                           By: /s/ Amy L. Bennecoff Ginsburg
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